 Oldiiam, J., delivered the opinion of the court. This was a summary proceeding upon a forfeited delivery bond, under the act of 1843, entitled “an act concerning judgments upon delivery bonds.” The practice upon this subject has been so fully discussed and explained,' by this court, in repeated decisions, that we deem it unnecessary to repeat again what has been so frequently and expressly settled. Patton &amp; Stewart vs. Wolcott, 4 Ark. Rep. 579. McKnight vs. Smith, 5 Ark. Rep. 410. Byrd et al. vs. Brown et al. ib. 709. According to the principles settled in these-eases, this judgment is clearly erroneous, and must be reversed. 